



 





THIS
  OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS
  PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 268(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
        
          Case No.
          2007-CP-10-0013 
          
          Virendra
          Puniyani, Deceased Employee, and Rajkumari Puniyani, Respondents,
        
      
    
  

v.

  
    
      
        Avni Grocers,
          Employer, Defendants,
          
          and
          The South
          Carolina Uninsured Employers' Fund, Carriers, Appellant.
        
        
        Case No.
          2007-CP-10-0014
          
          Dharmendra
          Chaudhari, Husband of Anita Chaudhari, Deceased, Claimant,
        
      
    
  

v.

  
    
      
        
          Avni Grocers,
          Employer, and The South Carolina Uninsured Employers' Fund, Carrier.
    
  


Appeal From Charleston County
D. Garrison Hill, Circuit Court Judge

Unpublished Opinion No. 2010-UP-338
Heard March 2, 2010  Filed June 29, 2010&nbsp;&nbsp;&nbsp; 

APPEAL DISMISSED

Latonya Dilligard Edwards, S.C. Second
  Injury Fund, of Columbia, Terri Morrill Lynch, Matthew J. Story, Margaret M. Urbanic, of Charleston, for
  Appellant.
Jarrel L. Wigger of N. Charleston, John S.
  Nichols, of Columbia, for Respondents.
PER CURIAM: &nbsp;The
  South Carolina Uninsured Employers' Fund (Fund) appeals the order of the
  circuit court, which reversed the decision of the South Carolina Workers'
  Compensation Commission (Commission) denying benefits to Rajkumari Puniyani,
  mother of deceased employee Virendra Puniyani, and remanded the case to the
  Commission.&nbsp; We find the order on appeal is not immediately appealable and
  therefore dismiss.&nbsp; 
FACTS/PROCEDURAL HISTORY
On November 14, 2002, Virendra
  Puniyani was killed by a co-worker while working at the Fast Point Gas
  Station.&nbsp; Mrs. Puniyani brought this action seeking workers' compensation
  benefits.&nbsp; As the Employer, Avni Grocers, did not have workers' compensation
  insurance, the Fund defended the action.&nbsp; The single commissioner held Mrs.
  Puniyani failed to prove Avni Grocers regularly employed four or more employees
  as required by section 42-1-150 of the South Carolina Code (1985) to be subject
  to the jurisdiction of the Commission.&nbsp; The Appellate Panel of the Commission
  affirmed.&nbsp; The circuit court, however, reversed and remanded the matter to the
  Commission for further proceedings consistent with its order.&nbsp; This appeal
  followed.&nbsp; 
LAW/ANALYSIS
Mrs. Puniyani argues the
  order of the circuit court is not immediately appealable.&nbsp; We agree.
Our courts have consistently
  held that an order of the circuit court remanding a case for additional
  proceedings before an administrative agency is not directly appealable.&nbsp; Montjoy
    v. Asten-Hill Dryer Fabrics, 316 S.C. 52, 52, 446 S.E.2d 618, 618 (1994).&nbsp; The
  South Carolina Supreme Court recently reiterated that appeals from
  administrative agencies may only be from final decisions.&nbsp; Charlotte-Mecklenburg
    Hosp. Auth. v. S.C. Dep't of Health &amp; Envtl. Control, S.C. Sup. Ct.
  Order dated April 8, 2010 (Shearouse Adv. Sh. No. 14 at 85).&nbsp; It explained the
  general appealability statute, section 14-3-330 of the South Carolina Code
  (1976 &amp; Supp. 2009), does not apply to appeals from administrative
  agencies.&nbsp; Id. at 87.&nbsp; The court overruled this court's opinion Canteen
    v. McLeod Regional Medical Center, 384 S.C. 617, 682 S.E.2d 504 (Ct. App.
  2009) to the extent it relied on section 14-3-330 to permit the appeal of
  interlocutory orders of the administrative law court or an administrative
  agency.[1]&nbsp; Id.&nbsp; 
A judgment is not final when
  there is some further act that must be done by the court prior to a
  determination of the rights of the parties or when the judgment determines the applicable
  law while leaving open questions of fact.&nbsp; Id. at 88.&nbsp; "A final
  judgment disposes of the whole subject matter of the action or terminates the
  particular proceeding or action, leaving nothing to be done but to enforce by
  execution what has been determined."&nbsp; Id.&nbsp; 
The order on appeal remands
  the matter to the Commission for further proceedings.&nbsp; It is not a final
  judgment.&nbsp; Thus, the order is not immediately appealable.&nbsp; 
APPEAL DISMISSED.&nbsp; 
FEW, C.J. and HUFF and
  THOMAS, JJ., concur.



[1] It also overruled Oakwood Landfill, Inc. v. South
  Carolina Department of Health and Environmental Control, 381 S.C. 120, 671
  S.E.2d 646 (Ct. App. 2009). 

